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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                        CIVIL ACTION NO. 12-859

VERSUS                                                       SECTION I, DIVISION 5

MARLIN GUSMAN, ET AL.                                        JUDGE LANCE M. AFRICK
                                                             MAGISTRATE JUDGE NORTH



                                             STATUS REPORT

        NOW INTO COURT, through undersigned counsel, comes Third-Party Defendant, City

of New Orleans (“City”), who pursuant to the Court’s Order of March 18, 2019,1 and February 4,

2021,2 hereby submits an update3 on the progress of the Phase III new jail building. Because of

the ongoing COVID-19 global pandemic and unknowns generally associated with municipal

capital projects, the City respectfully notes that the project timeline is subject to change.

        The City continues to move forward with compliance measures, consistent with the

Court’s Orders. On Tuesday August 16, 2022, FEMA approved the EA Report and authorized

the City to move forward with publication of the FONSI (Finding of No Significant Impact).

Publishing began August 22, 2022, and ran through August 30, 2022. The EA Report was placed

in six (6) public libraries and City Hall for public viewing. The public viewing period is

currently in progress and will end September 30, 2022 (30-day duration). After the public

viewing period, FEMA and the City will review any comments. The City will respond as

directed by FEMA and await FEMA’s final approval and issuance of notice to proceed into the

Bid and Award Phase.



1
  R. Doc. 1227.
2
  R. Doc. 1403.
3
  See Project Status Report (September 15, 2022), attached hereto as Exhibit A.
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       The City’s Department of Safety and Permits is continuing to review the 100% plans

submitted to their office. Grace Hebert Curtis Architects (GHC) has been coordinating with

consultants to review all documents and specifications for bidding. The City and GHC are

scheduled to meet on September 21, 2022, to verify bidding documents and conditional use

requirements.

       The City’s Law Department is working with Safety and Permits to secure construction

permits.

       The permitted plans will be available for the issuance of building permits when the

contractor is selected and contracted, and the construction notice to proceed is issued to begin

construction.

       The ordinance to appropriate an additional $30 Million to the project was approved by

the City Council on August 4, 2022, and subsequently signed by the Mayor.

       The September Executive Group meeting is planned for September 21, 2022.

                                            Respectfully submitted,


                                            /s/ Kevin C. Hill
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                                            City Attorney
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on September 15, 2022, a copy of the foregoing was served,

contemporaneously or prior, upon all counsel of record in this proceeding via the court’s

CM/ECF system.

                                     /s/ Kevin C. Hill
                                     KEVIN C. HILL




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